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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




J.G.G., et al.,
 Petitioner,                                            No. 1:25-cv-766 (JEB)
v.
DONALD J. TRUMP, et al.,                                Declaration Of Acting Field Office Director
                                                        Robert L. Cerna
 Respondents.


                            DECLARATION OF ROBERT L. CERNA


I, Robert L. Cerna, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.         I am an Acting Field Office Director Enforcement and Removal Operations

(“ERO”) at U.S. Immigration and Customs Enforcement (“ICE”) within the U.S. Department of

Homeland Security (“DHS”).

       2.         As the (A)FOD of the Harlingen Field Office, I am responsible for, among other

things, the detention and enforcement operations of more than 350 employees, assigned to six ERO

Harlingen offices. ERO Harlingen encompasses fifteen South Texas counties and is responsible

for six detention facilities with a combined total of 3,790 detention beds.

       3.         I am aware that the instant lawsuit has been filed regarding the removal of

Venezuelan members of Tren de Aragua (“TdA”) pursuant to the Alien Enemies Act (“AEA”).

       4.         I provide this declaration based on my personal knowledge, reasonable inquiry, and

information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.
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       5.      On March 15, 2025, two flights carrying aliens being removed under the AEA

departed U.S. airspace before the Court’s minute order of 7:25 PM EDT, and before the Court’s

oral statements during the hearing.

       6.      I understand that Cabinet Secretaries are currently actively considering whether to

invoke the state secrets privilege over the other facts requested by the Court’s order. Doing so is

a serious matter that requires careful consideration of national security and foreign relations, and

it cannot properly be undertaken in just 24 hours.



I declare under penalty of perjury that the foregoing is true and correct.


Executed this 20th day of March 2025.
                                               ROBERT L Digitally     signed by
                                                             ROBERT L CERNA II

                                               CERNA      II Date: 2025.03.20
                                                             11:14:23 -05'00'
                                              ____________________________

                                              Robert L. Cerna
                                              Acting Field Office Director
                                              Enforcement and Removal Operations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security
